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                                          No. 16-2185


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT



                    CARLTON & HARRIS CHIROPRACTIC, INC., et al.

                                            Appellant

                                               v.

                        PDR NETWORK, LLC, PDR DISTRIBUTION, LLC,
                                 PDR EQUITY, LLC, et al.

                                            Appellees


                           Appeal from the United States District Court
                    for the Southern District of West Virginia (at Huntington)
                                District Court No. 3:15-cv-14887
                   The Honorable Robert C. Chambers, Chief Judge Presiding


                                    BRIEF OF APPELLANT


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                              ORAL ARGUMENT REQUESTED
USCA4
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER INTERESTS
         Disclosures must be filed on behalf of all parties to a civil, agency, bankruptcy or mandamus
         case, except that a disclosure statement is not required from the United States, from an indigent
         party, or from a state or local government in a pro se case. In mandamus cases arising from a
         civil or bankruptcy action, all parties to the action in the district court are considered parties to
         the mandamus case.

         Corporate defendants in a criminal or post-conviction case and corporate amici curiae are
         required to file disclosure statements.

         If counsel is not a registered ECF filer and does not intend to file documents other than the
         required disclosure statement, counsel may file the disclosure statement in paper rather than
         electronic form. Counsel has a continuing duty to update this information.

              16-2185
         No. __________            Caption: __________________________________________________
                                            Carlton & Harris Chiropractic, Inc. v. PDR Network, LLC, et al.

         Pursuant to FRAP 26.1 and Local Rule 26.1,

         ______________________________________________________________________________
         Carlton & Harris Chiropractic, Inc.
         (name of party/amicus)

         ______________________________________________________________________________

          who is _______________________,
                           Appellant           makes the following disclosure:
         (appellant/appellee/petitioner/respondent/amicus/intervenor)


         1.      Is party/amicus a publicly held corporation or other publicly held entity?      YES   ✔   NO


         2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                 If yes, identify all parent corporations, including all generations of parent corporations:




         3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                 other publicly held entity?                                                 YES ✔ NO
                 If yes, identify all such owners:




         09/29/2016 SCC                                  -1-
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         4.     Is there any other publicly held corporation or other publicly held entity that has a direct
                financial interest in the outcome of the litigation (Local Rule 26.1(a)(2)(B))?     YES ✔ NO
                If yes, identify entity and nature of interest:




         5.     Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
                If yes, identify any publicly held member whose stock or equity value could be affected
                substantially by the outcome of the proceeding or whose claims the trade association is
                pursuing in a representative capacity, or state that there is no such member:




         6.     Does this case arise out of a bankruptcy proceeding?                             YES   ✔    NO
                If yes, identify any trustee and the members of any creditors’ committee:




                    s/Glenn L. Hara
         Signature: ____________________________________                     Date: ___________________
                                                                                         10/26/16

                      Appellant
         Counsel for: __________________________________


                                      CERTIFICATE OF SERVICE
                                          **************************
         I certify that on _________________
                                10/26/16        the foregoing document was served on all parties or their
         counsel of record through the CM/ECF system if they are registered users or, if they are not, by
         serving a true and correct copy at the addresses listed below:
         Jeffrey N. Rosenthal                                Ana Tagvoryan
         Blank Rome LLP                                      Blank Rome, LLP
         One Logan Square                                    2029 Century Park East
         130 N. 18th Street                                  6th Floor
         Philadelphia, PA 19103                              Los Angeles, CA 90067




         s/Glenn L. Hara
         _______________________________                                             10/26/16
                                                                             ________________________
                  (signature)                                                          (date)

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                                      Jurisdictional Statement
              The United States District Court for the Southern District of West Virginia

        had subject-matter jurisdiction of this action under 28 U.S.C. § 1331. The Supreme

        Court held in Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012), that federal

        and state courts share concurrent jurisdiction over claims arising under the

        Telephone Consumer Protection Act of 1991 (“TCPA”), 47 U.S.C. § 227(b)(3).

              This Court has jurisdiction because Plaintiff is appealing from the district

        court’s order dismissing the case for failure to state a claim, which is a “final

        decision” under 28 U.S.C. § 1291.

                                         Statement of Issues

              1.     Whether this Court will join the Sixth, Seventh, Eighth, and Eleventh

        Circuits in holding that an order issued by the Federal Communications

        Commission interpreting the TCPA is binding in federal district courts and its

        validity may be challenged only by following the procedures in the Administrative

        Orders Review Act (the “Hobbs Act”), 28 U.S.C. § 2342(1).

              2.     Whether the district court erred by refusing to enforce the FCC’s 2006

        Order interpreting the TCPA’s definition of “advertisement” to rule that facsimiles

        promoting “free goods and services,” such as faxes promoting “free publications”

        or “free seminars,” are advertisements.
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                                       Statement of the Case
              On November 10, 2015, Plaintiff, a chiropractic clinic in West Virginia,

        filed its Class Action Complaint against Defendants under the TCPA. (A9). The

        Complaint alleges that on or about December 17, 2013, Plaintiff received an

        unsolicited fax advertising Defendants’ “products, goods, and services,” attaching

        the fax as Exhibit A. (A11, ¶¶ 11–12).

              The fax is addressed to “Practice Manager” from “PDR Network” and offers

        a “FREE 2014 Physicians Desk Reference eBook.” (A23). The fax states that the

        free PDR eBook contains the “[s]ame trusted, FDA-approved full prescribing

        information . . . [n]ow in a new, convenient digital format.” (Id.) The fax states

        “[f]or additional information, please contact PDR Network at (866) 925-5155 or

        customerservice@pdr.net.” (Id.) Fine print at the bottom of the fax states: “To opt-

        out of delivery of clinically relevant information about healthcare products and

        services from PDR via fax, call 866-469-8327. You are receiving this fax because

        you are a member of the PDR Network.” (Id.)

              The Complaint alleges that Exhibit A is an “unsolicited advertisement” as

        defined by the TCPA and FCC’s rules implementing the TCPA. (A19, ¶ 29). The

        Complaint alleges Plaintiff did not give “prior express invitation or permission” to

        Defendants to send the fax (id.) and Plaintiff did not have an “established business

        relationship” (“EBR”) with Defendants (id. ¶ 33).



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              The Complaint alleges that, even if Defendants had obtained Plaintiff’s prior

        express permission or had an EBR with Plaintiff, the fax lacks the opt-out notice

        required by the FCC regulations to assert those defenses. (Id. ¶ 29). For example,

        the opt-out notice on the fax (1) is not “clear and conspicuous,” (2) does not

        provide a fax number for opt-out requests, (3) does not state that a sender’s failure

        to honor a request within 30 days is unlawful, and (4) does not state what the

        recipient must do in order to make a legally enforceable opt-out request, all of

        which are required on all fax advertisements under the FCC regulations, 47 C.F.R.

        § 64.1200(a)(4)(ii)–(iv). (A23).

              The Complaint alleges that Defendants sent “the same and other unsolicited

        facsimiles without the required opt out language to Plaintiff and more than 25 other

        recipients” (A12, ¶ 14), and seeks to certify a class of persons similarly situated

        (id. ¶¶ 17–24). The Complaint seeks the relief authorized by the TCPA, 47 U.S.C.

        § 227(b)(3), consisting of statutory damages of $500 to $1,500 per violation and

        injunctive relief. (Id. ¶¶ 13, 19(l), & 31).

              On February 5, 2016, Defendants moved to dismiss the Complaint for failure

        to state a claim, arguing that Exhibit A is not an “advertisement” as a matter of law

        under the TCPA because it “does not offer anything for purchase or sale,” instead

        merely offering a “free” copy of the 2014 eBook. (A37, Defs.’ Mem. Supp. Mot.

        Dismiss at 7).



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              On March 4, 2016, Plaintiff filed its opposition to the motion to dismiss,

        explaining that the FCC issued a final order in 2006 interpreting the definition of

        “advertisement” in 47 U.S.C. § 227(a)(5), and ruling that “facsimile messages that

        promote goods or services even at no cost, such as free magazine subscriptions,

        catalogs, or free consultations or seminars, are unsolicited advertisements under

        the TCPA’s definition.” (A60–61 (discussing In re Rules & Regulations

        Implementing the Tel. Consumer Protection Act of 1991; Junk Fax Prevention Act

        of 2005, Report & Order & Third Order on Reconsideration, 21 FCC Rcd. 3787,

        3814, ¶ 52 (Apr. 6, 2006) (hereinafter “2006 Order”)).

              Plaintiff explained that the 2006 Order goes on to specifically identify faxes

        promoting “free publications” as advertisements. (Id.) Plaintiff explained that the

        FCC’s rationale for this rule was that faxes promoting free publications are “often”

        or “in many instances” a “pretext” or part of an “overall marketing campaign,” and

        so the FCC’s rule “presume[s] that such messages describe the ‘quality of any

        property, goods, or services,” bringing them within the statutory definition. (Id.)

              Plaintiff cited authority from the Supreme Court, this Court, and four other

        circuit courts holding that a final order of the FCC is binding in federal district

        courts under the Hobbs Act, 28 U.S.C. § 2342(1), and so the district court had no

        jurisdiction to do anything but enforce the free-goods-or-services rule. (A58–59).

        Plaintiff argued that even if the district court found the ruling ambiguous, it must



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        interpret it broadly in favor of consumers because a “remedial statute” like the

        TCPA is “to be construed liberally” under Russell v. Absolute Collection Servs.,

        Inc., 763 F.3d 385, 393 (4th Cir. 2014). (A67).

              On September 29, 2016, the district court heard oral argument on the motion

        to dismiss. (A101, Hr’g Tr., Sept. 29, 2016). On September 30, 2016, the district

        court issued its order granting the motion to dismiss. (A127).

              First, the district court held that, because the statutory definition of

        “advertisement” is “clear,” the “FCC’s interpretation of the TCPA is not due

        ‘substantial deference’” under Chevron U.S.A., Inc. v. NRDC, 467 U.S. 837, 843

        (1984). (A133). The district court held that it was not violating the Hobbs Act by

        holding the free-goods-or-services rule is not subject to Chevron deference because

        “[t]he Hobbs Act does not require a federal court to adopt an FCC interpretation of

        the TCPA,” and “[t]he Court is not obliged to defer to the FCC’s interpretation of

        an unambiguous statute.” (Id.)

              Second, the district court held that, “even if the Court were to defer to the

        FCC’s interpretation,” the free-goods-or-services rule states that a fax must

        “promote” free goods or services to be an advertisement, and since promote has

        “an explicit commercial nature,” the rule therefore means that a fax promoting free

        goods or services is an advertisement only if it also aims “through those goods and

        services” to sell something else that is not free. (Id.) The district court reasoned



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        that, because the rule unambiguously requires that faxes promoting free goods or

        services must also aim to sell something else, it “need not reach” the issue of

        whether the TCPA is a remedial statute or whether any ambiguity must be

        interpreted in Plaintiff’s favor. (A135).

                On October 12, 2016, Plaintiff timely filed its notice of appeal to this

        Court. (A138).

                                      Summary of Argument
              First, the district court erred in holding that “[t]he Hobbs Act does not

        require a federal court to adopt an FCC interpretation of the TCPA,” and that “[t]he

        Court is not obliged to defer to the FCC’s interpretation of an unambiguous

        statute.” To the contrary, this Court enforced the Hobbs Act to bar a challenge to

        an FCC order in a non-TCPA case in GTE S., Inc. v. Morrison, 199 F.3d 733, 742

        (4th Cir. 1999), and four other circuit courts of appeal have specifically held the

        FCC’s interpretations are binding in private TCPA actions under the Hobbs Act, 28

        U.S.C. § 2342(1). Mais v. Gulf Coast Collection Bureau, Inc., 768 F.3d 1110, 1119

        (11th Cir. 2014); Nack v. Walburg, 715 F.3d 680, 686 (8th Cir. 2013); Leyse v.

        Clear Channel Broad., Inc., 545 F. App’x 444, 459 (6th Cir. 2013); C.E. Design,

        Ltd. v. Prism Bus. Media, Inc., 606 F.3d 443, 445–50 (7th Cir. 2010).

              Second, the district court erred in holding that, even if it applied the FCC’s

        2006 Order, the plain language of the free-goods-or-services rule means that faxes



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        that “promote goods or services even at no cost” are advertisements only if they

        also promote some other good or service “for sale,” meaning not “at no cost.” That

        is the opposite of what the rule says, and the district court’s holding is erroneous.

              Third, at best, the district court identified an ambiguity in the 2006 Order

        regarding whether a fax that promotes free goods or services is an advertisement

        per se or merely creates a “presumption” that it is an advertisement. But even if the

        rule is ambiguous (which Plaintiff disputes), the district court should be reversed

        because it applied the narrowest possible interpretation that most heavily favors fax

        advertisers, while the TCPA is a “remedial statute,” and this Court holds that a

        remedial statute is “construed liberally” in favor of those it is designed to protect.

        Russell v. Absolute Collection Servs., Inc., 763 F.3d 385, 393 (4th Cir. 2014).

                                              Argument

        I.    Standard of review.
              This Court reviews a dismissal for failure to state a claim de novo. Harbourt

        v. PPE Casino Resorts Maryland, LLC, 820 F.3d 655, 658 (4th Cir. 2016).

        Dismissal is appropriate only if the defendant demonstrates that the plaintiff does

        not even have a “plausible” claim. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        There must be no “reasonable expectation that discovery will reveal evidence” to

        support the plaintiff’s claims. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557

        (2007). It is not enough that the court suspects the plaintiff will ultimately “fail to



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        find evidentiary support for his allegations or prove his claim to the satisfaction of

        the factfinder.” Id. at 563 n.8. The plaintiff “need not ‘forecast’ evidence sufficient

        to prove” a claim. Harbourt, 820 F.3d at 658.

        II.   The district court erred in holding that the FCC’s interpretation of the
              TCPA is not binding in a federal district court under the Hobbs Act.
              The district court held that “[t]he Hobbs Act does not require a federal court

        to adopt an FCC interpretation of the TCPA,” and that “[t]he Court is not obliged

        to defer to the FCC’s interpretation of an unambiguous statute.” (A133). This

        holding is erroneous and must be reversed, regardless how this Court rules on any

        other aspect of this appeal. Affirming the district court would encourage regulated

        parties in a wide range of contexts (not only the TCPA context) to attack federal

        agency rules in district courts in this Circuit in contravention of the Hobbs Act, and

        it would create a clear split with the Sixth, Seventh, Eighth, and Eleventh Circuits,

        which have specifically held in private TCPA enforcement actions that the FCC’s

        interpretations of the TCPA are binding.

              The Administrative Orders Review Act (the “Hobbs Act”), 28 U.S.C.

        § 2342, provides that “exclusive jurisdiction” to “determine the validity of” a final

        order of the FCC (and numerous other federal agencies) lies in the federal court of

        appeals on a petition for review from agency action. See, e.g., FCC v. ITT World

        Commc’ns, Inc., 466 U.S. 463, 468 (1984) (holding district court lacked

        jurisdiction to enjoin FCC action as ultra vires because “[e]xclusive jurisdiction for


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        review of final FCC orders . . . lies in the Court of Appeals” through Hobbs Act

        procedures). The petition for review must be filed by an “aggrieved” party and

        “shall be against the United States,” giving the agency an opportunity to respond.

        28 U.S.C. § 2344. Thus, contrary to the district court’s holding in this case, a

        district court has no discretion to “adopt” or “defer to” the FCC’s interpretation of

        the TCPA. (A133). A district court can either enforce the FCC’s interpretation or it

        can violate the Hobbs Act.

              Although this Court has not applied the Hobbs Act specifically in the TCPA

        context, it held in GTE S., Inc. v. Morrison, 199 F.3d 733, 742 (4th Cir. 1999), that

        the district court lacked jurisdiction to review a final FCC order issuing pricing

        rules pursuant to the Communications Act, holding the Hobbs Act governs “all

        final orders (including those relating to rulemaking) of the FCC.” Plaintiff cited

        GTE S. in the district court (A58), and the district court ignored it (A127–36).

              In Pornomo v. United States, 814 F.3d 681, 690 (4th Cir. 2016), this Court

        held the district court lacked jurisdiction under the Hobbs Act to decide a dispute

        over the validity of an order of the Secretary of Transportation that arose in an

        action under the Federal Tort Claims Act. In Blitz v. Napolitano, 700 F.3d 733, 737

        (4th Cir. 2012), the Court held the district court lacked jurisdiction under a similar

        “jurisdiction-channeling” statute to hear a constitutional challenge to TSA security-




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        screening rules, holding that Congress has the power to determine the jurisdiction

        of the “inferior Courts.” Id.

              A district court in this Circuit recently applied an FCC interpretation of the

        TCPA allowing consumers to revoke “prior express consent” to telephone calls

        “using any reasonable method,” rejecting the defendant’s argument that the FCC’s

        ruling contradicted the statute and holding, “[r]egardless of whether this FCC

        interpretation of the TCPA is entitled to Chevron deference, this Court lacks

        jurisdiction to review its validity.” Cartrette v. Time Warner Cable, Inc., 2016 WL

        183483, at *3 (E.D.N.C. Jan. 14, 2016) (quoting Sacco v. Bank of Am., N.A., 2012

        WL 6566681, at *9 (W.D.N.C. Dec. 17, 2012)). Plaintiff discussed Cartrette in the

        district court (A59), and the district court ignored it (A127–36).

              Four other circuit courts of appeal have applied the Hobbs Act specifically

        with respect to the FCC’s interpretations of the TCPA, sometimes to the benefit of

        plaintiffs and sometimes to the benefit of defendants. See Mais v. Gulf Coast

        Collection Bureau, Inc., 768 F.3d 1110, 1119 (11th Cir. 2014); Nack v. Walburg,

        715 F.3d 680, 686 (8th Cir. 2013); Leyse v. Clear Channel Broad., Inc., 545 F.

        App’x 444, 459 (6th Cir. 2013);1 C.E. Design, Ltd. v. Prism Bus. Media, Inc., 606

        F.3d 443, 445–50 (7th Cir. 2010); see also Gottlieb v. Carnival Corp., 635 F.

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         The 2013 Leyse decision superseded the Sixth Circuit’s prior ruling that the
        Hobbs Act did not bar the challenge to the regulation. Leyse v. Clear Channel
        Broad. Inc., 697 F.3d 360, 376 (6th Cir. 2012).


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        Supp. 2d 213, 218–21 (E.D.N.Y. 2009) (holding in TCPA fax case that court

        lacked “jurisdiction to invalidate the EBR exemption and must apply it as if it were

        part and parcel of the TCPA”). Plaintiff discussed these cases in opposition to the

        motion to dismiss (A59–60), and the district court ignored them. (A127–36). These

        four circuit court decisions merit close examination.

              In Mais, the district court awarded summary judgment to the plaintiff in a

        TCPA case involving phone calls, refusing to apply an FCC order stating that the

        mere “provision of a cell phone number” constitutes “prior express consent,”

        reasoning that the rule was “inconsistent with the statute’s plain language because

        it impermissibly amends the TCPA to provide an exception for ‘prior express or

        implied consent.’” Mais v. Gulf Coast Collection Bureau, Inc., 944 F. Supp. 2d

        1226, 1239 (S.D. Fla. 2013). The district court held “Congress could have written

        the statute that way, but it didn’t,” and so “the FCC’s contrary construction is not

        entitled to deference” under Chevron. Id. Like the district court in this case, the

        Mais district court insisted it was not violating the Hobbs Act by declining to

        enforce the FCC’s interpretation because “this action’s central aim is not to

        invalidate any [FCC] order,” but “[r]ather, the purpose of this lawsuit is to obtain

        damages for violations of the TCPA, a consumer protection statute.” Id. at 1237.

              The Eleventh Circuit reversed, holding that “[b]y refusing to enforce the

        FCC’s interpretation, the district court exceeded its power” in violation of the



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        Hobbs Act. Mais, 768 F.3d at 1119. The Eleventh Circuit held it made “no

        difference” that the validity of the FCC’s interpretation arose “in a dispute between

        private parties,” rather than in a proceeding with the primary purpose of attacking

        the ruling. Id. It held the plaintiff was “free to ask the Commission to reconsider its

        interpretation of ‘prior express consent’ and to challenge the FCC’s response in the

        court of appeals,” but the district court was bound to enforce the ruling, even if it

        considered it unworthy of Chevron deference. Id. at 1119–20.

              In Nack, the plaintiff sued the defendant for violating an FCC rule, which

        was issued in the same 2006 Order announcing the free-goods-or-services rule,

        requiring “opt-out notice” on fax advertisements sent with “prior express invitation

        or permission.” The district court entered summary judgment for the defendant,

        “interpreting” the FCC rule as not applying to faxes sent with permission,

        reasoning that “as a whole,” the TCPA applies “only to unsolicited faxes,” i.e.,

        faxes sent without “prior express invitation or permission.” Nack v. Walburg, 2011

        WL 310249, at *4–5 (E.D. Mo. Jan. 28, 2011). Like the district court in this case,

        the district court insisted it was not “enjoining, setting aside, annulling, or

        suspending” the FCC rule in violation of the Hobbs Act, but merely “interpreting”

        the rule in a manner “consistent with the TCPA, and with Congress’ and the FCC’s

        stated intent to prevent ‘unsolicited’ facsimile advertisements.” Id. at *5–6.




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              On appeal, the Eighth Circuit invited the FCC’s views, and the FCC filed an

        amicus brief arguing that the defendant’s challenge was barred by the Hobbs Act

        and that, to obtain judicial review of the rule, the defendant must petition the FCC

        and then (if the petition was denied) seek review in the court of appeals. Nack, 715

        F.3d at 686 n.2. The Eighth Circuit agreed with the FCC and reversed, holding that

        neither the district court nor the Eighth Circuit (in the current posture) had

        jurisdiction to “interpret” the regulation away as contrary to the statute and that the

        defendant must first “challenge the validity” of the regulation before the FCC to

        obtain judicial review. Id.

              After the Eighth Circuit’s ruling, the defendant in Nack petitioned the FCC,

        which after notice and comment, issued an order October 30, 2014, granting in part

        and denying in part. In re Rules & Regulations Implementing the Telephone

        Consumer Protection Act of 1991; Junk Fax Prevention Act of 2005, Order, 29

        FCC Rcd. 13998 (Oct. 30, 2014). Multiple parties (both TCPA defendants and

        plaintiffs, some of whom are represented by undersigned counsel, Anderson +

        Wanca) filed petitions for review from that order in various circuit courts of appeal

        under the Hobbs Act, which the Judicial Panel on Multidistrict Litigation

        subsequently assigned to the D.C. Circuit, and which are currently pending in

        consolidated appeal No. 14-1234.




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              In Leyse, the district court dismissed a TCPA plaintiff’s claim arising out of

        a telephone call from a local radio station, holding that the FCC issued an order in

        2003 exempting such calls from the TCPA’s definition of “advertisement,” and

        that the plaintiff’s challenge to the validity of that exemption was barred by the

        Hobbs Act. 545 F. App’x at 459. The Sixth Circuit affirmed, holding that “the

        Hobbs Act deprives the district court below—and this court on appeal—of

        jurisdiction over the argument that the exemption was invalid or should be set

        aside,” holding, “the Hobbs Act’s jurisdictional limitations are equally applicable”

        regardless of whether a party challenges the agency order directly or “indirectly” in

        a private TCPA action. Id. (quoting C.E. Design, 606 F.3d at 448).

              In C.E. Design, the district court granted summary judgment for the

        defendant in a TCPA action involving fax advertisements, enforcing the FCC’s

        interpretation that fax advertisements sent pursuant to an “established business

        relationship” or “EBR” were not prohibited and that the plaintiff’s argument that

        the FCC had no authority to create the EBR rule was barred by the Hobbs Act. 606

        F.3d at 446. The Seventh Circuit affirmed, holding it made “no difference” that the

        challenge to the EBR rule arose in a private TCPA action instead of an action with

        the express purpose of attacking the rule, and that when the plaintiff “argued that

        the district court should ignore—or in other words, invalidate—the FCC’s EBR




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        exemption for purposes of this suit, the Hobbs Act’s jurisdictional bar came into

        play.” Id. at 448 (emphasis added).

              Thus, the district court’s holding in this case directly contradicts four circuit

        courts of appeal applying the Hobbs Act in TCPA cases. This Court will “often

        consider whether our decisions fall in line with those of our sister circuits,” which

        it considers “co-equal.” In re Naranjo, 768 F.3d 332, 349 (4th Cir. 2014); see also

        Fennell v. TLB Kent Co., 865 F.2d 498, 501 (2d Cir. 1989) (court is “inclined to

        follow [its] sister circuits” in the absence of “weighty countervailing

        considerations”); Keasler v. United States, 766 F.2d 1227, 1233 (8th Cir. 1985)

        (circuit court opinions should be accorded “great weight and precedential value” to

        “maintain uniformity in the law among our circuits”). This Court should follow the

        Sixth, Seventh, Eighth, and Eleventh Circuits and hold that the FCC’s

        interpretations of the TCPA are binding. The Court should reverse the district

        court’s holding that “[t]he Hobbs Act does not require a federal court to adopt an

        FCC interpretation of the TCPA.” (A133). As every circuit court to address this

        question has held, that is exactly what the Hobbs Act requires.

              Even if this Court is “ambivalent” about Mais, Nack, Leyse, and C.E.

        Design, there are “costs” associated with “holding differently and creating a circuit

        split,” which could “create confusion and inequity” depending on where a suit is

        pending. Nat’l Treasury Employees Union v. Fed. Labor Relations Auth., 737 F.3d



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        273, 280 (4th Cir. 2013). Here, an opinion from this Court affirming the district

        court’s ruling that federal courts are not bound by the FCC’s interpretations of the

        TCPA would virtually guarantee confusing and inequitable situations where TCPA

        litigants are subject to different rules in different jurisdictions.

               TCPA violations nearly always cross state boundaries, involving nationwide

        (or at least multi-state) telemarketing and fax-advertising campaigns. If this Court

        were to affirm the district court in this case, it is not difficult to imagine a situation

        where a district court in South Carolina (Fourth Circuit) strikes down an FCC

        interpretation as unworthy of Chevron deference, while a district court in the

        neighboring state of Georgia (Eleventh Circuit) enforces the FCC’s interpretation

        under Mais. That would create an untenable situation, almost certainly leading to

        forum-shopping and inconsistent rulings, precisely what the Hobbs Act is designed

        to avoid. CE Design, 606 F.3d at 450 (Hobbs Act allows “uniform, nationwide

        interpretation of the federal statute by the centralized expert agency created by

        Congress” to interpret the TCPA).

               In sum, the district court erred in holding that “[t]he Hobbs Act does not

        require a federal court to adopt an FCC interpretation of the TCPA,” and that “[t]he

        Court is not obliged to defer to the FCC’s interpretation of an unambiguous

        statute.” (A133). Affirming this ruling would encourage regulated entities in a

        range of contexts to challenge agency rulings in district courts in this Circuit in



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        violation of the Hobbs Act, and it would create a circuit split with the Sixth,

        Seventh, Eighth, and Eleventh Circuits. It should be reversed.

        III.   The district court erred in holding that faxes promoting “free goods or
               services,” such as faxes promoting free publications, are advertisements
               only if they also attempt to sell some other good or service.
               The district court held that, “even if the Court were to defer to the FCC’s

        interpretation,” a “plain reading” of the 2006 Order demonstrates that a fax

        promoting free goods or services, such as a free publication, is an advertisement

        only if it is an “attempt to increase sales” of some other good or service that is not

        free. (A134). The 2006 Order states precisely the opposite.

               The 2006 Order unambiguously states that “facsimile messages that promote

        goods or services even at no cost, such as free magazine subscriptions, catalogs, or

        free consultations or seminars, are unsolicited advertisements under the TCPA’s

        definition.”2 (2006 Order ¶ 52). The Order goes on to specifically focus on faxes

        promoting “free publications,” explaining its reasoning as follows:

               In many instances, “free” seminars serve as a pretext to advertise
               commercial products and services. Similarly, “free” publications are
               often part of an overall marketing campaign to sell property, goods, or
               services. For instance, while the publication itself may be offered at
               no cost to the facsimile recipient, the products promoted within the

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          The statute defines “unsolicited advertisement” as “any material advertising the
        commercial availability or quality of any property, goods, or services which is
        transmitted to any person without that person's prior express invitation or
        permission, in writing or otherwise.” 47 U.S.C. § 227(a)(5). The FCC regulations
        define “advertisement” as “any material advertising the commercial availability or
        quality of any property, goods, or services.” 47 C.F.R. § 64.1200(f)(1).


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              publication are often commercially available. Based on this, it is
              reasonable to presume that such messages describe the “quality of any
              property, goods, or services.” Therefore, facsimile communications
              regarding such free goods and services, if not purely “transactional,”
              would require the sender to obtain the recipient’s permission
              beforehand, in the absence of an EBR.

        (Id.) Thus, under the plain language of the 2006 Order, a fax offering a “free

        publication” is presumed to describe the “quality of any property, goods, or

        services” and is an “advertisement” under the TCPA’s definition. (Id.)

              In this case, the district court acknowledged that the PDR fax “certainly

        offers a good to Plaintiff,” namely the 2014 e-Book. (A132). The court also

        recognized that this “good” was offered “at no cost.” (Id.) Because the fax

        promotes a “good” “at no cost,” it is an advertisement under the free-goods-or-

        services rule.

              That should have been the end of the analysis, but the district court imported

        a “selling” requirement into the rule—a rule aimed at faxes promoting goods or

        services “at no cost”—through the word promote, quoting the ruling as follows:

        “facsimile messages that promote goods or services, even at no cost, . . . are

        unsolicited advertisements under the TCPA’s definition.” (A133–34 (ellipsis in

        original)). The district court reasoned that the word promote has “an explicit

        commercial nature,” and so in the district court’s estimation, the FCC’s ruling

        means that “faxes that offer free goods or services must aim, through those goods




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        and services, to garner a buyer’s acceptance or attempt to increase sales” of some

        other goods or services that are not free. (A134).

              The district court reached this erroneous conclusion because it omitted the

        words “such as” from the FCC ruling, which states in full that faxes “that promote

        goods or services even at no cost, such as free magazine subscriptions, catalogs, or

        free consultations or seminars, are unsolicited advertisements under the TCPA’s

        definition.” (2006 Order ¶ 52 (emphasis added)). The “such as” makes

        unmistakably clear that the thing being “promoted” in the fax is the “free good or

        service”—such as a free publication, seminar, consultation, etc.—not some other

        good or service that is not free. If promote necessarily means “offer for sale,” as

        the district court held, then the FCC’s rule would mean that a fax is an

        advertisement only if it promotes “goods or services even at no cost [for sale],” and

        the idea of promoting something for sale “at no cost” is inherently contradictory.

              The district court’s ruling appears to have been motivated at least in part by

        its assumption that applying the plain language of the free-goods-or-services rule

        would create “a blanket ban on any fax that offers a free good or service” and

        mean that “any fax that offers a free good or service is barred by the statute . . . .”

        (A135). That is not the case at all.

              As Plaintiff explained in its opposition to the motion to dismiss (A61), and

        at the hearing on the motion (A120), the mere status of a fax as an “advertisement”



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        does not necessarily mean that it violates the TCPA. It simply means that the

        sender must abide by the FCC’s rules governing fax advertisements, which require

        (1) an opt-out notice informing the recipient how to stop future faxes and (2) either

        “prior express invitation or permission” from the recipient or an EBR between

        sender and recipient. 47 C.F.R. § 64.1200(a)(4)(ii)–(iv). EBR is a low hurdle, and

        is created through nearly any “voluntary two-way communication” under 47

        C.F.R. § 64.1200(f)(6). These are “simple rules” that any advertiser should easily

        be able to follow. Chapman v. First Index, Inc., 796 F.3d 783, 784 (7th Cir. 2015).

        With a minimal investment in TCPA compliance, a sophisticated entity like PDR

        Network should have no problem lawfully promoting the free eBook by fax.

              The district court held that “the evil to be combatted” in the free-goods-or-

        services rule is not present in this particular case because the rule is aimed at faxes

        that “are a pretext for a commercial transaction that will inevitably follow from the

        fax.” (A135). It is true that the FCC’s motivation for the rule was that faxes

        promoting free goods or services are “often” or “in many instances” a pretext or

        part of an “overall marketing campaign,” but the rule does not require a plaintiff to

        prove that a fax promoting free goods or services is in fact a “pretext” or part of an

        overall marketing campaign.

              Rather, the rule states that because “such messages”—i.e., faxes promoting

        free goods or services—are “in many instances” or “often” a pretext or part of an



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        overall marketing campaign, the FCC “presume[s]” that they are advertisements.

        (2006 Order ¶ 52). If the FCC required a pretext to establish that the fax is an

        advertisement, it would have had no reason to presume anything. The FCC’s

        presumption makes sense only in the context of explaining a per se rule covering

        all faxes that promote free goods or services because the FCC determined such

        messages are often abused.

              Although the free-goods-or-services rule is not subject to review in this

        proceeding, it was reasonable for the FCC to impose a bright-line rule, given its

        finding that faxes promoting free goods and services are “often” and “in many

        instances” abused. Administrative agencies can, and often do, enact prophylactic

        rules that are stricter than the underlying statute in order to accomplish the statute’s

        purposes. See, e.g., Mourning v. Family Publ’n Serv., Inc., 411 U.S. 356, 369

        (1973) (upholding regulation as prophylactic measure, enacted under Truth in

        Lending Act, requiring lenders to make disclosures not mandated by the act itself);

        United States v. O’Hagan, 521 U.S. 642 (1997) (upholding SEC regulation

        prohibiting activity not explicitly prohibited by underlying statute); Weinberger v.

        Salfi, 422 U.S. 749, 774 (1975) (discussing Mourning).

              In Friedman v. Heckler, 765 F.2d 383, 387 (2d Cir. 1985), for example, the

        plaintiffs argued that the “threat of provider overreaching” that motivated the

        Department of Health and Human Services to issue rules defining “related entities”



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        for purposes of Medicare reimbursements was not present in their case because

        they “operate[d] at arm’s length.” The Second Circuit rejected that argument,

        holding that entities that qualify as “related” under the regulation are “reasonably

        presumed” to be “dealing at less than arm’s-length” and that “[p]rophylactic rules .

        . . cannot, and need not, operate with mathematical precision.” Id. at 388. The

        Second Circuit held that although prophylactic rules “may occasionally lead to

        unfair results,” the “mere fact that a regulation operates overbroadly does not

        render it invalid” and “neither the possibility of unfairness in a particular case nor

        the availability of alternatives to the adopted regulation renders the Secretary’s

        choice invalid.” Id.

              The FCC’s free-seminar rule is no different from the “related entities” rule

        in Friedman. The FCC is the expert agency on these matters and has been

        interpreting and enforcing the TCPA for 25 years. In its role, it made a finding that

        faxes promoting “free publications” are often a pretext or part of an overall

        marketing campaign, and so it reasonably imposed a broad prophylactic rule that

        such faxes are “presume[d]” to be advertisements. While that rule “may

        occasionally lead to unfair results,” as in Freidman, that does not render the rule

        invalid. If Defendants find the simple rules governing fax advertisements (such as

        including a compliant opt-out notice) too burdensome, they should not be using fax




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        machines to promote their e-Books, and should stick to less highly regulated means

        of communication, such as direct mail, email, or internet.

              In sum, this Court should reverse the district court’s holding that the free-

        goods-or-services rule in the 2006 Order means a fax promoting a “free

        publication” is an advertisement only if it also tries to sell something else that is

        not free. That is the opposite of what the ruling says, and the district court’s ruling

        to the contrary was erroneous.

        IV.   At best, the FCC’s free-publication rule is ambiguous, and so the
              district court erred in interpreting it in favor of fax advertisers, rather
              than the persons the TCPA was designed to protect.
              Plaintiff argued before the district court that, at best, Defendants raised an

        ambiguity over whether the free-goods-or-services rule is a per se rule. (A67–68).

        Plaintiff maintains that the rule unambiguously states that free-publication faxes

        are advertisements, but even if the rule is ambiguous, the district court must be

        reversed because this Court recognizes “the canon of statutory interpretation that

        remedial statutes are to be construed liberally.” Russell v. Absolute Collection

        Servs., Inc., 763 F.3d 385, 393 (4th Cir. 2014).

              In Russell, the Court applied the remedial-statute canon in favor of the

        plaintiff in an action under the Fair Debt Collection Practices Act, interpreting the

        statute broadly in favor of the plaintiff because the statute “facilitates private

        enforcement by allowing aggrieved consumers to bring suit” and because the



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        statutory damages provision showed that “Congress plainly intended to regulate

        unscrupulous conduct by encouraging consumers who were the target of unlawful

        collection efforts to bring civil actions.” Id.; see also Roy v. Cty. Of Lexington,

        S.C., 141 F.3d 533, 540 (4th Cir. 1998) (holding “[e]xemptions from or exceptions

        to” the Fair Labor Standards Act “are to be narrowly construed” against

        defendants).

              This Court has not considered whether the TCPA is a “remedial statute,” but

        the Supreme Court held in Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745

        (2012), that the TCPA was passed to protect consumers from “unrestricted

        telemarking,” including fax advertising. The Third Circuit squarely held in Gager

        v. Dell Fin. Servs., LLC, 727 F.3d 265, 271 (3d Cir. 2013), that the TCPA “is

        a remedial statute that was passed to protect consumers” and broadly construed it

        to allow consumers to revoke prior express consent to telephone calls, where the

        statute and regulations were silent. The FCC agrees. See In re Rules & Regulations

        Implementing the Tel. Consumer Protection Act of 1991, 30 FCC Rcd. 7961, 7993

        ¶ 56 (rel. July 10, 2015) (agreeing with Gager that “in light of the TCPA’s

        purpose, any silence in the statute as to the right of revocation should be construed

        in favor of consumers”).

              A district court in this Circuit held in Mey v. Monitronics Int’l, Inc., 959 F.

        Supp. 2d 927, 930 (N.D.W.Va. 2013), that “[t]he TCPA is a remedial statute and



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        thus entitled to a broad construction” in a TCPA action involving voice telephone

        calls. The court broadly construed the statutory term “on behalf of” in light of the

        FCC’s 2013 ruling that “‘on behalf of’ liability does not require a formal agency

        relationship” between a “seller” and telemarketer in a TCPA phone-call case, and

        denied the defendant’s motion for summary judgment. Id. at 932.

              Thus, in this case, the Court should construe the term “advertisement” and

        the FCC’s interpretation of that term broadly in favor of fax recipients and against

        fax senders, like Defendants. The broadest, most pro-plaintiff interpretation of the

        FCC ruling (assuming it is ambiguous) is that faxes promoting free publications

        are advertisements per se. Plaintiff argues that is what the plain language says, but

        no one could argue this is not a reasonable reading of the ruling that “facsimile

        messages that promote goods or services even at no cost,” such as faxes promoting

        “free publications,” are advertisements. (2006 Order ¶ 52). The broad

        interpretation requires reversal in this case for the reasons above.

              The second-broadest interpretation (again assuming the rule is ambiguous) is

        that a fax promoting a free publication is “presume[d]” to be a “pretext” or part of

        an “overall marketing campaign” unless and until the defendant comes forward

        with evidence to rebut that presumption. That interpretation would require reversal

        here because this case was decided on a motion to dismiss for failure to state a

        claim, and a defendant cannot rebut a presumption on the pleadings. See, e.g., SCF



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        Arizona v. Wachovia Bank, N.A., 2010 WL 5422505, at *9 (S.D.N.Y. Dec. 14,

        2010) (“Although Wachovia may rebut the presumption against a release of tort

        liability with evidence later, this Court cannot conclude that the release is effective

        on a motion to dismiss.”). Rather, Defendants would be required to produce

        evidence to rebut the presumption, and Plaintiff would be entitled to discovery to

        test that evidence.

              In its opposition to the motion to dismiss, Plaintiff cited numerous free-

        seminar cases denying motions to dismiss based on the free-goods-or-services rule.

        (A64–65 (citing Physicians Healthsource, Inc. v. Alma Lasers, Inc., 2012 WL

        4120506, at *2 (N.D. Ill. Sept. 18, 2012) (denying motion to dismiss, holding

        “faxes promoting a free seminar may constitute an ‘unsolicited advertisement’

        since free seminars are often a pretext to market products or services”); Addison

        Automatics, Inc. v. RTC Group, Inc., 2013 WL 3771423, at *2 (N.D. Ill. July 16,

        2103) (denying motion to dismiss because “free seminars are often a pretext to

        market products or services”); St. Louis Heart Ctr., Inc. v. Forest Pharms., Inc.,

        2013 WL 1076540, at *4 (E.D. Mo. Mar. 13, 2013) (denying motion to dismiss on

        free-seminar fax); N. Suburban Chiropractors Clinic v. Merck & Co., 2013 WL

        5170754, at *3 (N.D. Ill. Sept. 13, 2013) (same)). Plaintiff also cited Physicians

        Healthsource, Inc. v. Stryker Sales, 2014 WL 7109630, at *8 (W.D. Mich. Dec. 12,

        2014), where the district court denied summary judgment on a free-seminar fax in



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        light of the FCC’s reasoning that such faxes “are usually part of an overall

        marketing campaign, a fact not necessarily evident from the four corners of the

        fax.” The district court ignored all of Plaintiff’s cases. (A127–36).

               Instead, the district court relied on five easily distinguishable decisions.

        (A131). In N.B. Indus. v. Wells Fargo & Co., 2010 WL 4939970, at *11 (N.D. Cal.

        Nov. 30, 2010), the fax did not offer any free goods or services, and was merely an

        application for an award. The case does not implicate the free-goods-or-services

        rule and is irrelevant. Id.

               In Physicians Healthsource, Inc. v. Boehringer Ingelheim Pharm., Inc., 2015

        WL 144728, at *3 (D. Conn. Jan. 12, 2015), the district court held that the 2006

        Order “could be read to categorize all faxes promoting free seminars as unsolicited

        advertisements,” but decided to instead “require plaintiffs to show that the fax has

        a commercial pretext,” interpreting the ruling in favor of the fax sender, like the

        district court in this case. That decision is on appeal to the Second Circuit, Appeal

        No. 15-288, is fully briefed, and was argued September 29, 2015. Plaintiff

        maintains that the district court’s decision is erroneous and will likely be reversed.

               Both Phillips Randolph Enter., LLC v. Adler-Weiner Research Chicago,

        Inc., 526 F. Supp. 2d 851, 853 (N.D. Ill. 2007), and Amerigard, Inc. v. Univ. of

        Kan. Med. Ctr. Research Inst., 2006 WL 1766812, at *1–*2 (W.D. Mo. June 23,




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        2006), involved faxes regarding research studies, not offers for free goods and

        services, such as a free publication or free seminar.

              In Physicians Healthsource, Inc. v. Janssen Pharm., Inc., 2013 WL 486207,

        at *4-5 (D.N.J. Feb. 6, 2013) (“Janssen I”), the district court dismissed on the basis

        that a fax stating a drug had been reclassified for insurance purposes was a “bona

        fide informational communication” under the 2006 Order. The fax did not offer

        “free goods and services,” did not implicate the free-goods-or-services rule, and is

        therefore inapposite.

              Although the district court in this case did not address the requirements for

        the “bona fide informational communication” in the 2006 Order,3 the PDR fax is

        specifically covered by the free-goods-or-services rule. The federal courts will not

        disregard a specific agency ruling on point in favor of general statements in other

        sections of the agency’s rules. See, e.g., Spreckels v. Helvering, 315 U.S. 626, 628

        (1942) (holding “a general regulation designating ‘commissions’ as one of a long

        list of deductible business expenses is not controlling in the face of a specific



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          The FCC ruled that in determining whether a fax is a “bona fide informational
        communication,” it “will consider whether the communication is issued on a
        regular schedule; whether the text of the communication changes from issue to
        issue; and whether the communication is directed to specific regular recipients, i.e.,
        to paid subscribers or to recipients who have initiated membership in the
        organization that sends the communication.” (2006 Order ¶ 53 & n.187). The
        district court did not address these requirements, and there is no factual record
        from which it could do so.

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        regulation pertaining to commissions on securities transactions”). “[I]t is an

        elementary principle of statutory construction that a specific statutory provision

        controls a more general one,” Warren v. N. Carolina Dep't of Human Res., Div. of

        Soc. Servs., 65 F.3d 385, 390 (4th Cir. 1995), and this “conventional canon of legal

        interpretation” applies to agency regulations as well as statutes, Harry C. Crooker

        & Sons, Inc. v. OSHRC, 537 F.3d 79, 84 (1st Cir. 2008) (refusing to construe

        “general regulations to override a separate, highly specific regulation,” holding it

        “would turn the regulatory scheme on its head”).

              In addition, as Plaintiff pointed out, but the district court disregarded, the

        Janssen court subsequently granted leave to amend the complaint to allege the

        “informational” veneer of the fax was a “pretext.” Physicians Healthsource, Inc. v.

        Janssen Pharm., Inc., 2013 WL 2460345, at *4 (D.N.J. June 6, 2013) (“Janssen

        II”). Following discovery, the district court denied the defendant’s motion for

        summary judgment, holding evidence regarding the timing of the faxes and their

        genesis in the defendant’s marketing department raised a genuine issue into

        “whether there is an advertising intent” behind the faxes. Physicians Healthsource,

        Inc. v. Janssen Pharm., Inc., 2015 WL 3827579, at *1, *4 (D. N.J. June 19, 2015)

        (“Janssen III”) (citing Stryker, 2014 WL 7109630, at *8). The court later denied

        the defendant’s motion to reconsider, which argued that Sandusky Wellness Ctr.,

        LLC v. Medco Health Solutions, Inc., 788 F.3d 218 (6th Cir. 2015), stands for the



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        proposition that a court should not look past the “four corners” of a fax in

        determining whether it is an “advertisement,” given that Medco was decided on

        summary judgment. Physicians Healthsource, Inc. v. Janssen Pharm., Inc., 2015

        WL 5164821, at *4–5 (D.N.J. Sept. 2, 2015) (“Janssen IV”).

              In this case, although Plaintiff maintained it need not do so under the 2006

        Order, Plaintiff sought leave in the alternative to amend the Complaint to allege

        that the fax promoting the free PDR e-Book is part of an “overall marketing

        campaign.” No one can deny that, “while the publication itself may be offered at

        no cost,” the “products promoted within” the PDR are “commercially available.”

        (2006 Order ¶ 52). PDR Network is not a non-profit, and it admits that it is

        “indirectly funded by pharmaceutical companies to help satisfy various ‘duty to

        warn’ laws.” (A32). Plaintiff is entitled to explore the details of how that “funding”

        arrangement works, and it cannot know those details without discovery.

              In addition, Plaintiff submitted evidence to the district court showing that the

        first page of the 2015 e-Book is a full-page advertisement for the “PDR Pharmacy

        Discount Card,” stating that “Patients save up to 75% on brand and generic drugs,”

        that the plan “[i]ncludes over 50,000 drugs at 60,000 pharmacies nationwide,” and

        that “[k]its available in English or Spanish.” (A76–77, Declaration of Ryan M.




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        Kelly ¶¶ 3–7).4 The advertisement states that “[n]o enrollment or periodic fees

        apply,” but “[t]he pharmacy may pay the plan a fee from amounts the pharmacy

        collects from the member.” (Id. ¶ 7).

              Plaintiff sought leave in the alternative to amend the Complaint to allege that

        the 2014 e-Book is part of an overall marketing campaign for the PDR Pharmacy

        Discount Card, which indisputably has to do with the buying and selling of

        pharmaceutical drugs (A66), but the district court disregarded this request and

        dismissed the Complaint without leave to amend. At the very least, that ruling was

        erroneous and should be reversed. See Drug Reform Coordination Network, Inc. v.

        Grey House Publ’g, Inc., 106 F. Supp. 3d 9, 15 (D.D.C. 2015) (denying motion to

        dismiss where fax offering free inclusion in directory was not an “advertisement”

        on its face, but “[i]t remains for discovery to determine whether the Fax was in fact

        ‘part of an overall campaign’”).

              In sum, the free-goods-or-services rule unambiguously states that the fax in

        this case is an “advertisement,” but even if this Court finds the rule ambiguous, it

        should still reverse because the district court interpreted the rule in the narrowest

        possible manner in favor of fax advertisers, instead of construing any ambiguity in



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         Plaintiff was unable to find a copy of the 2014 e-Book, and since Plaintiff’s case
        was dismissed without being permitted to conduct any discovery, Plaintiff would
        have to allege on information and belief that the 2014 e-Book also contains an
        advertisement for the PDR Pharmacy Discount Card.

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        favor of the fax recipients the TCPA is designed to protect. At the very least, the

        district court should have allowed Plaintiff to amend to allege that the PDR fax is

        part of an “overall marketing campaign” to sell (1) the pharmaceuticals listed in the

        PDR e-Book or (2) the PDR Pharmacy Discount Card.

                                             Conclusion

              For the foregoing reasons, this Court should reverse the district court’s

        dismissal for failure to state a claim, join the Sixth, Seventh, Eighth, and Eleventh

        Circuits in holding that a district court is bound by the FCC’s interpretations of the

        TCPA under the Hobbs Act, hold that the FCC’s 2006 order unambiguously states

        that a fax promoting a “free publication” is an advertisement, and hold that the fax

        attached as Exhibit A to the Complaint promoting a free 2014 PDR e-Book is an

        advertisement as a matter of law.

                                    Request for Oral Argument
              Plaintiff respectfully requests that the Court hear oral argument in this

        matter. In particular, oral argument may be helpful to answer any questions the

        Court has regarding the Hobbs Act’s jurisdictional limitations with respect to final

        FCC orders and the procedures for judicial review prescribed by the Act.



        Date: December 19, 2016                 Respectfully submitted,
                                                CARLTON & HARRIS
                                                CHIROPRACTIC, INC.



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                     UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                 Briefing Orders issued before 12/01/2016


            16-2185
        No. __________                      Carlton & Harris Chiropractic, Inc. v. PDR Network LLC
                                  Caption: __________________________________________________


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        1. Type-Volume Limitation: Appellant’s Opening Brief, Appellee’s Response Brief, and
           Appellant’s Response/Reply Brief may not exceed 14,000 words or 1,300 lines. Appellee’s
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        (s) /s/ Glenn L. Hara

        Attorney for Appellant

        Dated: 12/19/16

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                                  CERTIFICATE OF SERVICE


                 I certify that on December 19, 20`16, the foregoing Brief of Appellant

           Carlton & Harris Chiropractic, Inc., was served on all parties or their counsel

           of record through the CM/ECF System.

                Participants in this case are all registered CM/ECF users.



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